	NO. 07-10-0367-CR
                               NO. 07-10-0368-CR
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	OCTOBER 20, 2010
	______________________________

	CARLOS VIGIL,

		Appellant

	v.

	THE STATE OF TEXAS, 

		Appellee

                       ________________________________

	FROM THE 251st DISTRICT COURT OF POTTER COUNTY;

	NOS. 57,173-C, 57,174-C; HON. ANA ESTEVEZ, PRESIDING
	_______________________________
	
	ON ABATEMENT AND REMAND
	_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Appellant appeals from his convictions for indecency with a child.  Neither the clerk's record nor the reporter's records have been filed.  Counsel for appellant has filed a motion to withdraw, stating that he has not been employed to represent appellant in these appeals.  Counsel further states that appellant has filed an affidavit of indigence.
Accordingly, we abate these appeals and remand the causes to the 251st District Court of Potter County (trial court) for further proceedings.  Upon remand, the trial court shall determine, by reasonable evidentiary procedure it selects, the following:
1.  whether appellant desires to prosecute the appeals; 
    	2.  whether appellant is indigent; and, if so,
3.  whether the appellant is entitled to a free appellate record in each case and the appointment of an attorney due to his indigency. 

The trial court is also directed to enter such orders necessary to address the aforementioned questions.  So too shall it include its findings on those matters (including the name, address, and phone number of any attorney it may appoint to represent appellant in these appeals) in a supplemental record in each case and cause those records to be filed with this court by November 19, 2010.  Should further time be needed to perform these tasks, then same must be requested before November 19, 2010.  In the meantime, all other appellate deadlines and counsel's motion to withdraw are stayed until further order of this court.
It is so ordered.
Per Curiam
Do not publish.
